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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SHERELLE THOMAS,                                 :
ADMINISTRATOR OF THE ESTATE                      :   No. 1:20-cv-01178
OF TERELLE THOMAS and                            :
T.T., a minor, individually, as child of         :   (Judge Kane)
decedent Terelle Thomas and as his               :
sole survivor,                                   :
   Plaintiffs                                    :
                                                 :
       v.                                        :
                                                 :
HARRISBURG CITY POLICE                           :
DEPARTMENT, et al.,                              :
    Defendants                                   :

                                             ORDER

       AND NOW, on this 15th day of October 2021, in accordance with the Memorandum issued

concurrently with this Order, IT IS ORDERED THAT:

             1. The motions to dismiss filed by Individual Defendants Foose, Carriere, Johnsen,
                Salazar, Banning, and Kinsinger (the “Individual Defendants”) (Doc. Nos. 54, 56,
                57) and the motion to dismiss and supplemental motion to dismiss filed by
                Defendant PrimeCare (Doc. Nos. 87, 90) are DENIED;

             2. The motion for judgment on the pleadings filed by Defendant Dauphin County
                (“Defendant County”) (Doc. No. 73) is DENIED;

             3. Claims as to Defendant City of Harrisburg (“Defendant City”) are DISMISSED
                WITHOUT PREJUDICE and the Clerk of Court is directed to terminate
                Defendant City as a defendant in this action;

             4. Plaintiffs’ claim for punitive damages against Defendant County is DISMISSED;

             5. The motion to dismiss filed by Defendant City (Doc. No. 55), the motions to strike
                filed by Defendant PrimeCare and the Individual Defendants (Doc. Nos. 98, 101),
                and Plaintiffs’ motion for leave to file a brief in opposition to Defendant
                PrimeCare’s motion to strike (Doc. No. 104) are DENIED as moot; and
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 6. Defendants who have not yet responded to the amended complaint are directed to
    file an answer within fourteen (14) days of the date of this Order.


                                              s/ Yvette Kane
                                              Yvette Kane, District Judge
                                              United States District Court
                                              Middle District of Pennsylvania




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